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                           UNITED STATES DISTRICT COURT
 5                        CENTRAL DISTRICT OF CALIFORNIA
 6                                                    CASE NO. 2:19-CV-04821-MWF-KS
       RICHARD DALTON, MATTHEW
 7
       FERNANDES, ANDRE JOSEPH
 8     ALEXANDER ALONSO, AND                          ORDER TO DISMISS ACTION WITHOUT
       RANDOLPH JONES, individually and               PREJUDICE PURSUANT TO FRCP 41
 9
       on behalf of all others similarly
10     situated.
11
       Plaintiffs,
12

13           v.
14     ANOVOS PRODUCTIONS, LLC,
       DISNEY LUCAS FILM LTD., NBC
15
       UNIVERSAL MEDIA, LLC AND
16     CBS STUDIOS, INC.
17
       Defendants.
18

19        Based upon the Joint Stipulation for Entry of Judgment filed by Plaintiffs, and
20   good cause appearing, this Court hereby orders (1) the above-captioned case dismissed
21   without prejudice as to Plaintiffs individually, with Plaintiffs to file a motion to dismiss
22   with prejudice or a motion to reopen by August 1, 2022; and (2) the above-captioned
23   case dismissed without prejudice as to the proposed class.
24           IT IS SO ORDERED.
25

26   Dated: August 5, 2021                _______________________________
                                          MICHAEL W. FITZGERALD
27                                        United States District Judge
28


     ORDER                                        1
